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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                       Plaintiff,                                      8:16CR142

       vs.                                             FINAL ORDER OF FORFEITURE

JOSE MARTINEZ-PENA,


                       Defendant.




       This matter comes on before the Court upon the United States= Motion for Final Order of

Forfeiture (Filing No. 86) and Index of Evidence (Filing No. 87). The Court reviews the record in

this case and, being duly advised in the premises, finds as follows:

       1. On October 12, 2016, the Court entered a Preliminary Order of Forfeiture Nunc Pro

Tunc (Filing No. 65), pursuant to the provisions of Title 21, United States Code, Sections 841 and

853, based upon the Defendant=s plea of guilty to Count I and the Forfeiture Allegation of the

Information filed herein. By way of said Preliminary Order of Forfeiture Nunc Pro Tunc, the

Defendant=s interest in a 2013 Dodge Ram 3500 Crew Cab SLT, VIN 3C63RRHL4DG613589,

was forfeited to the United States.

       2. Notice of Criminal Forfeiture was posted on an official internet government forfeiture

site, www.forfeiture.gov, for at least thirty consecutive days, beginning on October 13, 2016, as

required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions. A Declaration of Publication was filed herein on December 13, 2016

(Filing No. 78).
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       3. By Order dated December 21, 2016 (Filing No. 83), this Court directed Wells Fargo

Dealer Services to file a petition on or before January 31, 2017. The Court is advised, through the

Plaintiff’s Motion and its counsel’s affidavit, Wells Fargo representatives were made aware of the

Court’s December 21, 2016 Order.

       4.   The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       5. The Plaintiff=s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff=s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the 2013 Dodge Ram 3500 Crew Cab SLT, VIN

3C63RRHL4DG613589, held by any person or entity are hereby forever barred and foreclosed.

The secured interest Wells Fargo Dealer Services has in said vehicle is hereby extinguished. The

lien Wells Fargo Dealer Services has on the title to the vehicle is hereby declared null and void.

       C. The 2013 Dodge Ram 3500 Crew Cab SLT, VIN 3C63RRHL4DG613589, be, and the

same hereby is, forfeited to the United States of America.

       D. The United States is directed to dispose of said vehicle in accordance with law.

       DATED this 7th day of March, 2017.


                                              BY THE COURT:



                                               s/ Joseph F. Bataillon
                                              Senior United States District Judge




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